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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-20458-CR-DPG

 UNITED STATES OF AMERICA

 vs.

 ALVARO ENRIQUE CASTILLO,

                           Defendant.
 --------------I
                                     PLEA AGREEMENT

        The United States Attorney's Office for the Southern District of Florida ("this Office") and

 Alvaro Enrique Castillo (hereinafter referred to as the "defendant") enter into the following

 agreement:

        1.     The defendant agrees to plead guilty to the sole count of the Information, which        (
 charges the defendant with Conspiracy to Commit Wire Fraud in violation of 18 U.S.C. § 371.

        2.     The defendant is aware that the sentence .will be imposed by the Court after

 considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter

 "Sentencing Guidelines" or "U.S.S.G."). The defendant acknowledges and understands that the

 Court will compute an advisory sentence under the Sentencing Guidelines and that the applicable

 guidelines will be determined by the Court relying in part on the results of a pre-sentence

 investigation by the Court's probation office, which investigation will commence after the guilty

 plea has been entered. The defendant is also aware that, under certain circumstances, the Court

 may depart from the advisory sentencing guideline range that it has computed, and may raise or

 lower that advisory sentence under the Sentencing Guidelines. The defendant is further aware

 and understands that the Court is required to consider the advisory guideline ran~e determined
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 under the Sentencing Guidelines, but is not bound to impose a sentence within that advisory range;

 the Court is permitted to tailor the ultimate sentence in light of other statutory concerns, and such

 sentence may be either more severe or less severe than the Sentencing Guidelines' advisory range.

 Knowing these facts, the defendant understands and acknowledges that the Court has the authority

 to impose any sentence within and up to the statutory maximum authorized by law for the offenses

 identified in paragraph one ( 1) and that the defendant may not withdraw the plea solely as a result

 of the sentence imposed.

        3.      The defendant also understands and acknowledges that the Court may impose a

 statutory maximum term of imprisonment of up to five (5) years. The Court may impose a

 statutory maximum term of supervised release of up to three (3) years. In addition, the Court may

 impose a fine of up to $250,000.

        4.      The defendant further understands and acknowledges that, in addition to any

 sentence imposed under paragraph three (3) of this agreement, a special assessment in the amount

 of $100 will be imposed on the defendant. The defendant agrees that any special assessment

 imposed shall be paid at the time of sentencing. If the defendant is financially unable to pay the

 special assessment, the defendant agrees to present evidence to this Office and the Court at the

 time of sentencing as to the reasons for the defendant's failure to pay.

         5.     This Office reserves the right to inform the Court and the probation office of all

 facts pertinent to the sentencing process, including all relevant information concerning the offenses

 committed, whether charged or not, as well as concerning the defendant and the defendant's

 background. Subject only to the express terms of any agreed-upon sentencing recommendations

 contained in this agreement, this Office further reserves the right to make any recommendation as

 to the quality and quantity of punishment.

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        6.      This Office agrees that it will recommend at sentencing that the Court reduce by

 two (2) levels the sentencing guideline level applicable to the defendant's offense, pursuant to §

 3El. l(a) of the Sentencing Guidelines, based upon the defendant's recognition and affirmative

 and timely acceptance of personal responsibility. If at the time of sentencing the defendant's

 offense level is determined to be sixteen (16) or greater, this Office will file a motion requesting

 an additional one (1) level decrease pursuant to§ 3El. l(b) of the Sentencing Guidelines, stating

 that the defendant has assisted authorities in the investigation or prosecution of the defendant's

 own misconduct by timely notifying authorities of the defendant's intention to enter a plea of

 guilty, thereby permitting the government to avoid preparing for trial and permitting the

 government and the Court to allocate their resources efficiently. This Office, however, will not

 be required to make this motion if the defendant: ( 1) fails or refuses to make a full, accurate and

 complete disclosure to the probation office of the circumstances surrounding the relevant offense

 conduct (2) is found to have misrepresented facts to the government prior to entering into this plea

 agreement; or (3) commits any misconduct after entering into this plea agreement, including but

 not limited to committing a state or federal offense, violating any tenn of release, or making false

 statements or misrepresentations to any governmental entity or official.

        7.      The defendant agrees that he shall cooperate fully with this Office by: (a) providing

 truthful and complete information and testimony, and producing documents, records and other

 evidence, when called upon by this Office, whether in interviews, before a grand jury, or at any

 trial or other Court proceeding; (b) appearing at such grand jury proceedings, hearings, trials, and

 other judicial proceedings, and at meetings, as may be required by this Office; and (c) if requested

 by this Office, working in an undercover role under the supervision of, and in compliance with,

 law enforcement officers and agents. In addition, the defendant agrees that he will not protect

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 any person or entity through false information or omission, that he will not falsely implicate any

 person or entity, and that he that he will not commit any further crimes.

        8.      This Office reserves the right to evaluate the nature and extent of the defendant's

 cooperation and to make that cooperation, or lack thereof, known to the Court at the time of

 sentencing. If in the sole and unreviewable judgment of this Office the defendant's cooperation

 is of such quality and significance to the investigation or prosecution of other criminal matters as

 to warrant the Court's downward departure from the advisory sentencing range calculated under

 the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may

 make a motion prior to sentencing pursuant to § 5Kl.1 of the Sentencing Guidelines and/or 18

 U.S.C. § 3553(e), or subsequent to sentencing pursuant to Rule 35 of the Federal Rules of Criminal

 Procedure, informing the Court that the defendant has provided substantial assistance and

 recommending that the defendant's sentence be reduced. The defendant understands and agrees,

 however, that nothing in this agreement requires this Office to file any such motions, and that this

 Office's assessment of the quality and significance of the defendant's cooperation shall be binding

 as it relates to the appropriateness of this Office's filing or non-filing of a motion to reduce

 sentence.

        9.      The defendant understands and acknowledges that the Court is under no obligation

 to grant a motion for reduction of sentence filed by this Office. In addition, the defendant further

 understands and acknowledges that the Court is under no obligation of any type to reduce the

 defendant's sentence because of the defendant's cooperation.

        10.     This Office and the defendant agree that, although not binding on the probation

 office or the Court, they will jointly recommend that the Court make the following findings and

 conclusions as to the sentence to be imposed:

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                a. Base Offense: Pursuant to U.S.S.G. §§ 2Bl.l(a)(l), 2Xl.l(a), the base offense

                   level is 6.

                b. Specific Offense Characteristic:       Pursuant to U.S .S.G. § 2B l. l(b )(l)(H), the

                   offense level shall be increased by fourteen ( 14) levels because the relevant amount

                   of actual, probable, or intended loss resulting from the offense committed in this

                   case is more than $550,000 but less than or equal to $1,500,000.

                c. Total Offense Level:     The total offense level is 20 less any adjustment for

                   acceptance of responsibility.

         11 .      The defendant is aware that the sentence has not yet been determined by the Court.

 The defendant also is aware that any estimate of the probable sentencing range or sentence that the

 defendant may receive, whether that estimate comes from the defendant's attorney, this Office, or

 the probation office, is a prediction, not a promise, and is not binding on this Office, the probation

 office, or the Court. The defendant understands further that any recommendation that this Office

 makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

 on the Court and the Court may disregard the recommendation in its entirety. The defendant

 understands and acknowledges, as previously acknowledged in paragraph two (2) above, that the

 defendant may not withdraw his plea based upon the Court' s decision not to accept a sentencing

 recommendation made by the defendant, this Office, or a recommendation made jointly by the

 defendant and this Office.

         12.       The defendant acknowledges that restitution is mandatory without regard to the

 defendant's ability to pay, and that the Court must order the defendant to pay restitution for the full

 loss caused by his criminal conduct pursuant to 18 U.S.C. § 3663A. Furthermore, the defendant

 stipulates that he owes restitution in the amount of$ 1,010,889.38.

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         13.    The defendant agrees, in an individual and any other capacity, to forfeit to the

 United States voluntarily and immediately, any right, title, and interest to any property,

 constituting, or derived from, proceeds the person obtained directly or indirectly, as a result of a

 conspiracy to violate 18 U.S.C. § 1343, pursuant to 18 U.S.C. § 982(a)(2)(A) and the provisions

 of21 U.S.C. § 853 . In addition, the defendant agrees to forfeiture of substitute property pursuant

 to 21 U.S.C. § 853(p).   The property subject to forfeiture includes, but is not limited to:

                a. a forfeiture money judgment in the sum of $539,795.30 in United States

                    currency, which sum represents the value of the property subject to forfeiture.

         14.    The defendant further agrees that forfeiture is independent of any assessment, fine,

 cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and

 voluntarily agrees to waive all constitutional, legal, and equitable defenses to the forfeiture,

 including excessive fines under the Eighth Amendment to the United States Constitution. In

 addition, the defendant agrees to waive: any applicable time limits for administrative or judicial

 forfeiture proceedings, the requirements of Fed. R. Crim. P. 32.2 and 43(a), and any appeal of the

 forfeiture.

         15.    The defendant also agrees to fully and truthfully disclose the existence, nature and

 location of all assets in which the defendant has or had any direct or indirect financial interest or

 control, and any assets involved in the offense of conviction. The defendant also agrees to take

 all steps requested by the United States for the recovery and forfeiture of all assets identified by

 the United States as subject to forfeiture. This includes, but is not limited to, the timely delivery

 upon request of all necessary and appropriate documentation to deliver good and marketable title,

 consenting to all orders of forfeiture, and not contesting or impeding in any way with any criminal,

 civil or administrative forfeiture proceeding concerning the forfeiture.

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         16.    In furtherance of the satisfaction of a forfeiture money judgment entered by the

 Court in this case, the defendant agrees to the following:

                a.      submit a financial statement to the Offices upon request, within 14

                        calendar days from the request;

                b.      maintain any asset valued in excess of $10,000, and not sell, hide,

                        waste, encumber, destroy, or otherwise devalue such asset without

                        prior approval of the United States;

                c.      provide information about any transfer of an asset valued in excess

                        of $10,000 since the commencement of the offense conduct in this

                        case to date;

                d.      cooperate fully in the investigation and the identification of assets,

                        including liquidating assets, meeting with representatives of the

                        United States, and providing any documentation requested; and

                e.      notify, within 30 days, the Clerk of the Court for the Southern

                        District of Florida and the Offices of: (i) any change of name,

                        residence, or mailing address, and (ii) any material change in

                        economic circumstances.

         17.    The defendant further understands that providing false or incomplete information

 about assets, concealing assets, making materially false statements or representations, or making

 or using false writings or documents pertaining to assets, taking any action that would impede the

 forfeiture of assets, or failing to cooperate fully in the investigation and identification of assets

  may be used as a basis for: (i) separate prosecution, including, under 18 U.S.C. § 1001; or (ii)

  recommendation of a denial of a reduction for acceptance of responsibility pursuant to the

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 Sentencing Guidelines§ 3El .1.

        18.     The defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford the

 defendant the right to appeal the sentence imposed in this case. Acknowledging this, in exchange

 for the undertakings made by the United States in this plea agreement, the defendant hereby waives

 all rights conferred by§§ 1291 and 3742 to appeal any sentence imposed, including any restitution

 order, or to appeal the manner in which the sentence was imposed, unless the sentence exceeds the

 maximum permitted by statute or is the result of an upward departure and/or an upward variance

 from the advisory guideline range that the Court establishes at sentencing. The defendant further

 understands that nothing in this agreement shall affect the government's right and/or duty to appeal

 as set forth in 18 U.S.C. § 3742(b) and 28 U.S.C. § 1291. However, if the United States appeals

 the defendant's sentence pursuant to§§ 3742(b) and 1291, the defendant shall be released from

 the above waiver of his right to appeal his sentence.

         19.    By signing this agreement, the defendant acknowledges that the defendant has

 discussed the appeal waiver set forth in this agreement with the defendant's attorney. The

 defendant further agrees, together with this Office, to request that the Court enter a specific finding

 that the defendant's waiver of his right to appeal the sentence imposed in this case and his right to

 appeal his conviction in the manner described above was knowing and voluntary.

         20.    The defendant recognizes that pleading guilty may have consequences with respect

 to the defendant's immigration status if the defendant is not a citizen of the United States. Under

 federal law, a broad range of crimes are removable offenses. Removal and other immigration

 consequences are the subject of a separate proceeding, however, and the defendant understands

 that no one, including the defendant's attorney or the Court, can predict to a certainty the effect of

 the defendant's conviction on the defendant's immigration status. The defendant nevertheless

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 affirms that the defendant wants to plead guilty regardless of any immigration consequences that

 the defendant's plea may entail, even if the consequence is the defendant's automatic removal

 from the United States.

        21.     This is the entire agreement and understanding between this Office and the

 defendant. There are no other agreements, promises, representations, or understandings.


                                             MARKENZY LAPOINTE
                                             UNITED STATES ATTORNEY


                                     By:
                                                    UBIN
                                                    ANT UNITED STATES ATTORNEY


 Date ~ 7 >                          By:




 Date   03    joi jt(}-Z3            By:
                                                                  CASTILLO




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